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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 ROBERT LEROY MCCOY #55949/412412                     CIVIL ACTION NO. 19-cv-1066

 VERSUS                                               JUDGE ELIZABETH E. FOOTE

 JULIAN WHITTINGTON ET AL                             MAGISTRATE JUDGE HORNSBY


                          REPORT AND RECOMMENDATION

  Introduction

         Robert Leroy McCoy (“Plaintiff”) is a self-represented pretrial detainee housed at

  the Bossier Maximum Security facility. He filed this civil rights action against Sheriff

  Julian Whittington and several of his deputies based on allegations of denial of medical

  care, failure to protect from inmate attack, denial of procedural due process, and related

  claims. Before the court is a Motion for Summary Judgment (Doc. 49) filed by Defendants.

  For the reasons that follow, it is recommended that the motion be granted in part by

  dismissing all claims except Plaintiff’s claim that defendants Stokes, Porter, and Barnett

  denied him a physician-prescribed low-sodium diet.

  Summary Judgment

         Summary judgment is appropriate “if the movant shows that there is no genuine

  dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

  Fed. R. Civ. Pro. 56(a). A fact is “material” if it might affect the outcome of the suit under

  governing law. Anderson v. Liberty Lobby, Inc., 106 S.Ct. 2505, 2510 (1986). A dispute

  is “genuine” if there is sufficient evidence so that a reasonable jury could return a verdict
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  for either party. Anderson, supra; Hamilton v. Segue Software Inc., 232 F.3d 473, 477

  (5th Cir. 2000).

         The party seeking summary judgment has the initial responsibility of informing the

  court of the basis for its motion and identifying those parts of the record that it believes

  demonstrate the absence of a genuine dispute of material fact. Celotex Corp. v. Catrett,

  106 S.Ct. 2548 (1986). If the moving party carries his initial burden, the burden then falls

  upon the nonmoving party to demonstrate the existence of a genuine dispute of a material

  fact. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 106 S.Ct. 1348, 1355-56 (1986).

  Low Salt Diet

         A. Introduction

         A Bossier Parish jury convicted Plaintiff of three counts of first-degree murder, and

  he was transferred to Angola State Penitentiary to serve his sentence. The Supreme Court

  vacated the convictions and remanded for a new trial. McCoy v. Louisiana, 138 S. Ct.

  1500 (2018). Plaintiff was transferred from Angola to Bossier Parish to await a new trial

  as a pretrial detainee.

         His first claim is that Bossier officials have denied him a physician-prescribed low-

  sodium diet. Plaintiff alleges that, while he was in the state prison, he was diagnosed with

  non-Hodgkin’s lymphoma and underwent several surgeries and chemotherapy. Physicians

  allegedly placed him on a permanent low-sodium diet, and Plaintiff alleges that he

  presented Bossier officials with a “doctors form” to that effect when he arrived at the jail.

  Plaintiff complains that Bossier officials have refused to provide him the prescribed diet.




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         B. The Summary Judgment Evidence

         Defendants move for summary judgment on this claim. They submit an affidavit

  from Captain Rodney Boyer, who is the warden of Bossier Max. Boyer testifies that all

  inmates at Bossier Max are provided a low-sodium diet, and a Sysco dietician was hired to

  create the menus. Plaintiff requested a low-sodium diet in June 2018 and, since that date,

  he has been provided “a diet lower in sodium than the other inmates” receive. Boyer states

  that Plaintiff is the only inmate who receives this lower-sodium diet, which excludes

  bologna, hot dogs, corn dogs, burritos, any processed meats, and red sauce. If any salt is

  added to a meal, the inmate workers pull Plaintiff’s meal before they add the seasoning.

  Boyer states that Bossier officials have promptly provided a low-sodium diet to Plaintiff at

  all times after receipt of his medical diet order.

         Plaintiff’s complaint, amended complaint, and memorandum in opposition to the

  motion (as well as other submissions) are made under penalty of perjury pursuant to 28

  U.S.C. § 1746. That makes the facts set forth in those documents competent summary

  judgment evidence. Hart v. Hairston, 343 F.3d 762 n. 1 (5th Cir. 2003). Plaintiff offers

  facts that contradict those asserted by Captain Boyer. Plaintiff states that he presented his

  doctor’s form to Chief Deputy Craig Stokes, Assistant Warden Dillan Porter, and Sergeant

  Dee Barnett that showed he had been prescribed a permanent low-sodium diet. Porter,

  according to Plaintiff, told him in front of the other deputies that the jail did not provide

  special diets and he should not expect one. Plaintiff alleges that he brought up the issue

  again in the days that followed, but he was told that the decision was final. Plaintiff filed

  a grievance. In March 2019, several months after the June 2018 request for the diet, Chief


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  Deputy Stokes allegedly told Plaintiff that his “meals will be right.” Plaintiff states that he

  soon received a low-salt diet for two days, but then Sgt. Barnett denied the meals and his

  emergency medical requests.

         In the early days of this case, the court issued an order and requested Plaintiff to

  respond to several questions about the details of his claims. Plaintiff responded in what

  was docketed as an amended complaint (Doc. 9), made under penalty of perjury pursuant

  to Section 1746. One question asked what harm was caused to Plaintiff by the events that

  make the basis of his medical claim. He generally alleged chronic and substantial pain.

  He also more specifically alleged that the area around his heart is constantly painful and

  that he now has to take a higher dosage of Lisinopril blood pressure medication because of

  the denial of his medically approved diet (plus other alleged medical care shortcomings),

  that “now make a life-threatening situation even worser.” He contends that he has severe

  chest pains and headaches for at least a few hours a day, and it affects his vision, makes

  him dizzy, short of breath, and unable to stand without support.

         C. Analysis of the Claim

         “The Fourteenth Amendment guarantees pretrial detainees a right ‘not to have their

  serious medical needs met with deliberate indifference on the part of the confining

  officials.’” Dyer v. Houston, 964 F.3d 374, 380 (5th Cir. 2020), quoting Thompson v.

  Upshur Cty., Tex., 245 F.3d 447, 457 (5th Cir. 2001). A serious medical need is “one for

  which treatment has been recommended or for which the need is so apparent that even

  laymen would recognize that care is required.” Gobert v. Caldwell, 463 F.3d 339, 345 n.

  12 (5th Cir. 2006). Deliberate indifference will be found only where the prison official


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  “knows that inmates face a substantial risk of serious harm and disregards that risk by

  failing to take reasonable measures to abate it.” Farmer v. Brennan, 114 S.Ct. 1970, 1984

  (1994).

            There is a genuine dispute between the facts presented. Plaintiff states under penalty

  of perjury that his diet has been denied, except for two days, and that he has suffered

  medical issues as a result. Defendants offer testimony that Plaintiff has been given a low-

  sodium diet that satisfied the physician order. On summary judgment, “[a]ll facts and

  reasonable inferences are construed in favor of the nonmovant, and the court should not

  weigh evidence or make credibility findings.” Renfroe v. Parker, 974 F.3d 594, 599 (5th

  Cir. 2020). Thus, the court may not resolve the factual dispute at this stage of the case.

  Plaintiff’s version of the facts must be accepted for current purposes.

            The denial of a medically-prescribed diet may amount to deliberate indifference to

  a serious medical need. Jones v. Texas Department of Criminal Justice, 880 F.3d 756 (5th

  Cir. 2018) (diabetic prisoner denied special diet during lockdown alleged that blood sugar

  rose and resulted in a heart attack). But such claims are sometimes dismissed because

  evidence shows that the prisoner received other treatment and monitoring, and the lack of

  a particular diet was merely a disagreement about the quality and quantity of medical

  treatment. See Warren v. Gusman, 2017 WL 1373875, *13-14 (E.D. La. 2017) (collecting

  cases).

            Plaintiff presents summary judgment evidence that Bossier officials refused to

  provide him a low-sodium diet that was prescribed by a physician to address health

  problems stemming from cancer treatments that affected his heart. Plaintiff also states that


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  the lack of a diet has resulted in specific, severe symptoms and is a serious danger to his

  health. Those facts, which must be accepted for summary judgment purposes, could allow

  a reasonable jury to find that the Bossier officials were deliberately indifferent to Plaintiff’s

  serious medical needs with respect to his diet. The resolution of this claim will require an

  assessment of the relative credibility of the witnesses, so summary judgment is not

  recommended on this claim.

         D. The Proper Defendants

         The next issue is which defendants Plaintiff has demonstrated are potentially liable

  for this claim. A person can be held liable under Section 1983 only for his or her own acts

  or omissions. The doctrine of respondeat superior does not apply, so Section 1983 does

  not permit a cause of action based on the conduct of subordinates. Stewart v. Murphy, 174

  F.3d 530, 536 (5th Cir. 1999). To state a cause of action under Section 1983, the plaintiff

  “must identify defendants who were either personally involved in the constitutional

  violation or whose acts are causally connected to the constitutional violation alleged.”

  Woods v. Edwards, 51 F.3d 577, 583 (5th Cir. 1995).

         Plaintiff alleges that Assistant Warden Porter, Deputy Craig Stokes, and Sgt. Dee

  Barnett were personally involved in the denial of his low-sodium diet. Porter is alleged to

  have directly denied the request for the diet and said his decision was final. Stokes is

  alleged to have been presented with the diet order, told Plaintiff he would look into the

  matter, but did nothing. Plaintiff alleges that Barnett threatened physical force if Plaintiff

  did not eat a “salty tray” despite knowing Plaintiff’s health condition. Barnett is also

  accused of falsely logging that Plaintiff refused his food tray and telling Plaintiff that he


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  would not get any special trays in the jail. Plaintiff adds that, after he received a low-

  sodium tray for two days, Barnett “continued to deny said meals.”

         There are no allegations against any other defendants with respect to this claim, and

  that includes Sheriff Whittington. Plaintiff was asked to describe the personal involvement

  of each defendant in the events alleged, and he wrote a few paragraphs about Sheriff

  Whittington. Most of what he wrote had to do with medical appointments in New Orleans,

  discussed below, and none of it had anything to do with the low-sodium diet. See Doc. 9,

  question 17.

         Plaintiff has not made specific allegations or presented any summary judgment

  evidence to indicate that Sheriff Whittington or any defendants other than Stokes, Porter,

  and Barnett had any personal involvement in the alleged denial of his low-sodium diet.

  Accordingly, only those three defendants should remain with respect to this claim.

  Medical Appointments in New Orleans

         When Plaintiff was housed at Angola, he received treatment from physicians in New

  Orleans. He alleges that, upon his arrival in Bossier Parish, he told Assistant Warden Porter

  about two upcoming hematology-oncology appointments in New Orleans, but Porter told

  him that they would not take him to New Orleans (about a six hour drive) for an

  appointment. Plaintiff contends that he missed a tele-med appointment, but the threat of

  legal action motivated Sheriff Whittington to honor that appointment.

         Defendants submit copies of Plaintiff’s medical records from their facility, where

  he arrived on June 1, 2018. Doc. 49, Ex. B at 063. The records include a note on June 18,

  2018 that Plaintiff was to be transported to New Orleans for a CT scan. The next day, it


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  was noted that Plaintiff’s records had been received from Angola, and a request had been

  made to transfer services to UHS (now Ochsner LSU Health Shreveport), which is less

  than an hour from Bossier Max. The sheriff attaches a copy of a contract that he has with

  Ochsner LSU to treat inmates housed at Bossier Max. Doc. 49, Ex. D. This transfer of

  services had already been discussed with Plaintiff on June 15, 2018, and Plaintiff said that

  he wished to consult his counsel prior to attending appointments in Shreveport. Ex. B at

  061. By June 27, 2018, Plaintiff was seen at the oncology clinic, and it was noted that there

  was no evidence of recurrence of disease on his imaging. A cardiology visit on July 24,

  2018 showed that Plaintiff was asymptomatic and should return for evaluation in six

  months. By November 2018, Plaintiff’s treatment for lymphoma was said to be completed,

  and yearly observation was recommended. A number of other such medical visits are noted

  in the records at Exhibit B, with nothing more remarkable than an increase in blood

  pressure medication and treatment for a wound on a toe.

         Plaintiff complains that appointments made with New Orleans physicians were not

  kept, but the record shows that his care was promptly transferred to Shreveport physicians.

  The appointments were kept in Shreveport, and there is no indication of any harm as a

  result of the brief delay associated with the transfer. Even if Plaintiff disagreed with the

  transfer, his disagreement with the methods of treatment afforded to him does not state a

  constitutional claim for deliberate indifference to serious medical needs.        Norton v.

  Dimazana, 122 F.3d 286, 292 (5th Cir. 1997). Defendants are entitled to summary

  judgment with respect to claims associated with medical appointments made after Plaintiff

  arrived in Bossier Parish.


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  Verbal Abuse

         Plaintiff alleges that when he was booked into Bossier Max, Sgt. Barnett insulted

  and threatened him because he had won his case in the Supreme Court. Plaintiff’s

  complaint and other filings include other scattered allegations of verbal abuse, insults, and

  threats.

         “[A]s a rule, ‘mere threatening language and gestures of a custodial officer do not,

  even if true, amount to a constitutional violation.” McFadden v. Lucas, 713 F.2d 143, 146

  (5th Cir. 1983) (“an intimidating show of force” by “twenty-two officers armed with sticks

  and threatening demeanor,” though arguably “excessive,” did not state a claim where no

  actual physical harm was inflicted); Bender v. Brumley, 1 F.3d 271, 274 n. 4 (5th Cir.

  1993) (“Mere allegations of verbal abuse do not present actionable claims under § 1983.”).

  Even severe and retaliatory threats have been found insufficient. Gibson v. Jean-Baptiste,

  802 Fed. Appx. 858 (5th Cir. 2020) (officer allegedly threatened to kill transgender inmate

  in retaliation for prior lawsuit). Accordingly, Defendants are entitled to summary judgment

  with respect to all claims of verbal abuse, insults, or threats.

  Failure to Protect

         Plaintiff alleges that on September 21, 2018, Sgt. Dee Barnett had been housing

  segregation inmates in cells in D Pod, where pretrial detainees were also housed. One of

  the segregation inmates refused to return to his cell after his recreation time, and Sgt.

  Barnett was called to D Pod. Barnett then began screaming at the segregation inmate and

  threatening to kill him if he did not get in his cell, which the inmate then did. Plaintiff

  alleges that Barnett then went on a tirade about the inmates not running the jail and, in the


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  course of it, he stated, “Robert McCoy, that also goes for you!” Plaintiff states that this

  mention of his name made the segregation inmate angry at both Barnett and Plaintiff, and

  the inmate promised that he would beat up both of them when his door was opened.

            Plaintiff states that on September 22, 2018, the segregation inmate began kicking

  his door, screaming at the pod deputy and promising that he was going to fight Plaintiff if

  his door opened while Plaintiff and the other general population inmates were on

  recreation. Deputy Downey got on the intercom and admonished the inmate, which

  Plaintiff says only added to his rage. Plaintiff states that he asked Deputy Downey to call

  Assistant Warden Porter to the area because Plaintiff perceived that he was at risk of serious

  harm because Downey had goaded the inmate and even said that Plaintiff was a prospect

  to “beat his ass.”

            Later, during pill call, Deputy Downey allegedly opened the segregation cell door,

  and two segregation inmates began screaming and threatening Plaintiff. He states that

  Deputy Downey was in the booth “smiling and pointing towards the segregation door—

  now open.” Plaintiff states that one of the segregation inmates came downstairs with his

  right hand wrapped, and he struck Plaintiff twice in the face. Downey was allegedly “in

  the booth laughing at pointing at us fighting.” Deputy Brown soon arrived and separated

  the inmates. Plaintiff contends that defendants Barnett and Downey orchestrated the

  attack.

            Defendants have not offered an affidavit or other testimonial evidence regarding

  this failure-to-protect claim. They contend in their memorandum that the cell door for the

  segregation inmates was opened during pill call, the inmate who began the altercation with


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  Plaintiff was not supposed to leave his cell, and a deputy broke up the fight immediately.

  Defendants state that a review of the video surveillance of the incident shows Plaintiff

  standing at the bottom of the stairs yelling toward the other inmate and instigating the fight.

         Defendants did not attach a copy of the surveillance video to their motion, but

  Plaintiff submitted a flash drive (Doc. 58) that includes a 3:33 minute video (no audio)

  labelled “Robert McCoy Fight.”         At about 1:13, an inmate (presumably Plaintiff)

  approaches a stairwell in the pod that leads to the upstairs cells. He appears to be looking

  upstairs, and he waves his right arm five times as if to invite someone to come down. At

  2:13, Plaintiff puts down a cup he is holding. The door for cell 201 soon begins to open,

  and Plaintiff again motions for someone to “come on down” as he waits at the bottom of

  the stairs. The other inmate exits the cell and comes down the stairs, with his left hand

  wrapped in white material, and plaintiff moves toward the stairs to meet him. The two men

  square up and immediately begin exchanging punches. An officer appears at 2:22, and by

  2:43, the officer has grabbed the still-punching Plaintiff and pulled him away from the

  fight. The other inmate immediately walked back to his cell, and Plaintiff was escorted

  from the pod with no need for force.

          Prison officials have a duty to protect inmates from violence at the hands of other

  prisoners. Farmer v. Brennan, 114 S.Ct. 1970 (1994); Horton v. Cockrell, 70 F.3d 397,

  400-01 (5th Cir. 1995). However, not every injury “by one prisoner at the hands of another

  ... translates into constitutional liability for prison officials responsible for the victim’s

  safety.” Farmer, 114 S.Ct. at 1977. To establish a failure-to-protect claim, the plaintiff

  must show that he was detained “under conditions posing a substantial risk of serious harm


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  and that prison officials were deliberately indifferent to his need for protection.” Neals v.

  Norwood, 59 F.3d 530, 533 (5th Cir. 1995). This standard is based on the Eighth

  Amendment, but it also applies to pretrial detainees. Hare v. City of Corinth, 74 F.3d 633,

  643 (5th Cir. 1996) (en banc).

         Plaintiff has submitted multiple filings in which he stated, under penalty of perjury,

  his version of the facts surrounding this fight. But the video evidence tells quite a different

  story. In Scott v. Harris, 127 S.Ct. 1769 (2007) the plaintiff in a police chase case testified

  that he was driving quite safely, not a threat to pedestrians or other drivers, and slowed for

  turns and intersections. A video told a different story and clearly depicted the plaintiff’s

  car racing down narrow roads in the dead of night at shockingly fast speeds, swerving

  around more than a dozen cars, forcing cars off the road, running multiple red lights, and

  otherwise driving dangerously. The Court acknowledged that facts must be viewed in the

  light most favorable to the non-moving party if there is a genuine dispute as to those facts,

  but it held that there was no genuine dispute when the story told by the plaintiff was

  “blatantly contradicted by the record, so that no reasonable jury could believe it.” Scott,

  127 S.Ct. at 1776.

         The Fifth Circuit has cited Scott and held that, at the summary judgment stage, “facts

  evident from video recordings taken at the scene” may overcome a plaintiff’s description

  of the facts. Carnaby v. City of Houston, 636 F.3d 183, 187 (5th Cir. 2011). Defendants

  have raised qualified immunity as a defense, and the court “need not accept a plaintiff’s

  version of the facts for purposes of [QI] when it is blatantly contradicted and utterly

  discredited by video recordings.” Garza v. Briones, 943 F.3d 740, 744 (5th Cir. 2019)


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  (cleaned up). In Garza, still photos and a witness account relied upon by the plaintiff could

  not defeat summary judgment when they were directly contradicted by dashcam footage

  that confirmed the police officers’ accounts.

         The video in this case does not depict what Deputy Downey did or why he did it,

  nor does it include audio of what anyone said. But it does show that Plaintiff’s version of

  the facts in which he is an innocent victim who is attacked by a prisoner released from a

  cell is a gross mischaracterization. Even without audio, it is evident that Plaintiff actively

  engaged the other inmate while the inmate was locked inside a cell, and Plaintiff motioned

  repeatedly with a clear invitation for the inmate to come down and fight him. When the

  other inmate was released, Plaintiff moved forward to engage him and immediately

  participated in the fight; both men began punching at the same time. Plaintiff contends that

  he disengaged and raised his hands immediately when a deputy approached, but the video

  shows that the deputy had to grab Plaintiff, who was still trading punches, and pull him

  from the fight.

         No reasonable juror could find, based on the clear video evidence, that Downey or

  anyone else failed to protect Plaintiff from attack by a fellow inmate. Plaintiff actively

  encouraged, invited, and participated in the fight. There is not one second of the video

  footage that indicates Plaintiff attempted to avoid the fight in any way. Instead, the footage

  indicates that Plaintiff actively desired the fight. Those facts do not allow a verdict against

  a defendant for failure to protect Plaintiff from that fight. Defendants are entitled to

  summary judgment with respect to this claim. The same is true with respect to Plaintiff’s




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  conclusory allegation that the alleged failure to protect him was retaliation for filing

  grievances.

            Plaintiff also contends that the defendants were negligent in their failure to protect

  him from the fight. The civil rights statute invoked by Plaintiff, 42 U.S.C. § 1983, does

  not provide a cause of action against a state official for a mere negligent act that causes

  unintended injury. Daniels v. Williams, 106 S.Ct. 662 (1986) (affirming dismissal of

  inmate’s claim that he slipped on a pillow negligently left on the stairs by a deputy).

  Specifically, mere negligent failure to protect an inmate from attack does not justify

  liability under § 1983. Neals v. Norwood, 59 F.3d 530, 533 (5th Cir. 1995).

  Procedural Due Process

            Plaintiff alleges that, after another fight, he was placed in punitive segregation

  pending a disciplinary hearing. He complains that Sgt. Anthony Evans did not give him

  sufficiently factually specific notice to permit him to understand what conduct was at issue

  so that he could identify relevant evidence and present a defense. Evans, Porter, and Boyer

  were allegedly on a committee that refused to allow Plaintiff to explain why he denied the

  charges.     Plaintiff contends that no evidence was presented at the hearing, and the

  committee simply adopted the report of staff members with no further investigation, and

  he was placed in segregation for 20 days. Plaintiff also complains that there was no written

  statement by the fact finders regarding the evidence relied on or reasons for the disciplinary

  action.

            Defendants did not specifically attack this claim in their motion for summary

  judgment, but it fails to state a claim on which relief may be granted. Prisoners have certain


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  procedural due process rights, but they are not applicable unless a constitutionally protected

  liberty interest is at stake. Such a liberty interest is generally not at issue unless the prisoner

  faces restraints that impose “atypical and significant hardship on the inmate in relation to

  the ordinary incidents of prison life.” Sandin v. Conner, 115 S.Ct. 2293 (1995). The

  Sandin holding has been applied to pretrial detainees. Gibbs v. Grimmette, 254 F.3d 545,

  548 n. 1 (5th Cir. 2001) (applying Sandin to the due process claim of a pretrial detainee);

  Rhine v. City of Mansfield, 499 Fed. Appx. 334, 335 (5th Cir. 2012) (applying Sandin to

  due process claim of pretrial detainee who alleged wrongful administrative segregation).

         Prisoner Sandin was found guilty of misconduct after yelling at an officer, and he

  was sentenced to 30 days disciplinary segregation in a special holding unit. The Court

  found no liberty interest at issue because discipline by prison officials in response to a wide

  range of misconduct falls within the expected parameters of a sentence imposed by a court.

  The solitary confinement and segregation did not present a dramatic departure from the

  basic conditions of the prisoner’s sentence. The Fifth Circuit, after Sandin, has found that

  “administrative segregation, without more, simply does not constitute a deprivation of a

  constitutionally cognizable liberty interest.” Pichardo v. Kinker, 73 F.3d 612, 613 (5th Cir.

  1996). Absent extraordinary circumstances, segregation, being an incident to the ordinary

  life of a prisoner, will never be a ground for a procedural due process claim. Martin v.

  Scott, 156 F.3d 578, 580 (5th Cir. 1998).

         Plaintiff alleges that he was placed in segregation for 20 days. That brief detention

  was not an atypical and significant hardship in relation to the ordinary incidents of his

  incarceration, so procedural due process claims may not be based on the disciplinary charge


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  or how the hearing was conducted. The court should dismiss this claim sua sponte for

  failure to state a claim on which relief may be granted. See Alexander v. Trump, 753 Fed.

  Appx. 201, 208 (5th Cir. 2018) (sua sponte dismissal recommended by report and

  recommendation satisfied notice and fairness requirements).

  Violation of Policies and Regulations

         Plaintiff asserts a related claim that Defendants failed to follow “written policy”

  regarding the housing of inmates and the conduct of disciplinary proceedings. Defendants

  have not specifically attacked this claim in their motion, but it fails to state a claim on

  which relief may be granted. It should be dismissed sua sponte.

         Plaintiff is presenting a claim under 42 U.S.C. § 1983, which requires that he show

  a defendant violated federal laws or the Constitution. The statute does not permit a remedy

  for the mere violation of prison policies or even state law. Scheidel v. Secretary of Public

  Safety & Corrections, 561 Fed. Appx. 426 (5th Cir. 2014) (“violations of prison rules do

  not alone rise to the level of constitutional violations and, therefore, such claims are not

  actionable under § 1983.”); Sylvester v. Cain, 311 Fed. Appx. 733, *2 (5th Cir. 2009)

  (“violations of state law and prison regulations, without more, do not state a viable

  constitutional claim under § 1983”); and Brown v. Williams, 124 Fed. Appx. 907, 909 (5th

  Cir. 2005) (“a mere violation of state law does not state a constitutional claim under 42

  U.S.C. § 1983”). Accordingly, all claims based on allegations of violations of jail policy

  or state laws or regulations should be dismissed for failure to state a claim on which relief

  may be granted.

  Conclusion


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         It is recommended that all claims be dismissed with the exception of Plaintiff’s

  claim that he was denied his physician-prescribed low-sodium diet. The only appropriate

  defendants with respect to that claim are Porter, Stokes, and Barnett. Thus, all claims

  against the remaining defendants should be dismissed, and only those three defendants

  should remain to continue defendant against the diet claim.

         Accordingly,

         It is recommended that the motion be granted in part as follows: All claims

  associated with medical appointments made after Plaintiff arrived in Bossier Parish should

  be dismissed with prejudice; all claims of verbal abuse, insults or threats should be

  dismissed with prejudice; all claims based on failure to protect should be dismissed with

  prejudice; all claims based on procedural due process should be dismissed with prejudice;

  and all claims for violations of jail policy or state laws or regulations should be dismissed

  with prejudice. All claims against Sheriff Julian Whittington, Warden Boyer, Sgt. Anthony

  Evans, and Deputy E. Downey should be dismissed with prejudice. The motion for

  summary judgment should be denied with respect to Plaintiff’s claim that defendants

  Deputy Craig Stokes, Warden Dillan Porter, and Sgt. Dee Barnett denied him a physician-

  prescribed low-sodium diet.

                                          Objections

         Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Fed. R. Civ. P. 72(b), parties

  aggrieved by this recommendation have fourteen (14) days from service of this report and

  recommendation to file specific, written objections with the Clerk of Court, unless an

  extension of time is granted under Fed. R. Civ. P. 6(b). A party may respond to another


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  party’s objections within fourteen (14) days after being served with a copy thereof.

  Counsel are directed to furnish a courtesy copy of any objections or responses to the

  District Judge at the time of filing.

          A party’s failure to file written objections to the proposed findings, conclusions and

  recommendation set forth above, within 14 days after being served with a copy, shall bar

  that party, except upon grounds of plain error, from attacking on appeal the unobjected-to

  proposed factual findings and legal conclusions accepted by the district court.           See

  Douglass v. U.S.A.A., 79 F.3d 1415 (5th Cir. 1996) (en banc).

          THUS DONE AND SIGNED in Shreveport, Louisiana, this 11th day of February,

  2021.




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